        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 1 of 19



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND


 IN RE SMITH & NEPHEW                               MDL No. 2775
 BIRMINGHAM HIP RESURFACING                         Master Docket No. 1:17-md-2775
 (BHR) HIP IMPLANT PRODUCTS
 LIABILITY LITIGATION                               JUDGE CATHERINE C. BLAKE

                                                    This Document Relates to:

                                                    ALL CASES


DEFENDANT SMITH & NEPHEW, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION
FOR LEAVE TO TAKE DE BENE ESSE DEPOSITION OF TIM BAND AND SMITH &
     NEPHEW CORPORATE REPRESENTATIVE IN ADVANCE OF TRIAL

       Smith & Nephew, Inc. (“Smith & Nephew”) respectfully submits this opposition to

Plaintiffs’ motion for leave to take de bene esse depositions [D.E. 2980] (“Motion”).

       Plaintiffs improperly seek to take additional depositions—long after the close of discovery

and after the first bellwether trial—of witnesses concerning topics and documents about which

Plaintiffs already have conducted numerous depositions during the discovery period in this MDL.

Plaintiffs have not demonstrated “good cause” to take additional de bene esse depositions of Tim

Band or of a Smith & Nephew corporate representative outside the discovery period. Their Motion

should be denied.

       First, Plaintiffs have had ample opportunity to question Tim Band. He already has been

deposed twice in this MDL (as well as five additional times in state court cases). In addition, Mr.

Band is a U.K. resident who is no longer employed by Smith & Nephew. Another deposition of

Mr. Band is not warranted, and, in all events, Smith & Nephew lacks the power to compel Mr.

Band to sit for yet another deposition.

       Second, general liability discovery has long been closed in this MDL, and Plaintiffs cannot

modify the discovery schedule by seeking de bene esse depositions. The Fourth Circuit does not
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 2 of 19



distinguish de bene esse depositions from discovery depositions, and therefore Plaintiffs are not

entitled to take additional (let alone duplicative) depositions after discovery has closed. See

Tatman ex rel. Tatman v. Collins, 938 F.2d 509, 510 (4th Cir. 1991) (“The Federal Rules of Civil

Procedure make no distinction for use of a deposition at trial between one taken for discovery

purposes and one taken for use at trial (de bene esse)”); Capital Finance, LLC v. Rosenberg, No.

1:17-cv-02107, 2019 WL 2119839, at *2 (D. Md. Jan. 3, 2019) (cited in Motion at 2-3) (“Rule 30

does not make a distinction between a discovery deposition and a trial deposition” and “such

depositions should ordinarily be subject to the same discovery deadline”).

       Third, Plaintiffs have not established “good cause” to take additional depositions after

discovery has closed. See Fed. R. Civ. P. 16(b)(4). Plaintiffs already deposed Tim Band twice in

this MDL. Plaintiffs argue that (i) “Smith & Nephew produced a substantial percentage of

documents after the close of depositions,” and (ii) Tim Band “was deposed before many of the

above documents were actually produced.” Motion at 2, 7 (emphasis omitted). In fact, all but one

of the documents identified in Plaintiffs’ Motion (or their duplicates) were produced before one or

both of Tim Band’s depositions, and Plaintiffs have asked myriad witnesses about many of these

documents.

       Nor is there “good cause” to reopen discovery for additional Rule 30(b)(6) depositions.

During the years of discovery conducted in this MDL, Plaintiffs deposed numerous witnesses

regarding ad hoc data, “Dear Doctor letters” and other marketing activities, and medical education,

the same topics about which they nevertheless now argue they want a deposition from a corporate

representative. Id. at 1, 8-9. There is no basis to reopen discovery to take additional depositions—

long after the close of discovery and the conclusion of the first MDL trial in Redick—on documents

and topics that Plaintiffs have had every opportunity to cover, and in fact have covered previously.

Indeed, to the extent that Plaintiffs were permitted to reopen discovery, then fundamental fairness
                                                 2
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 3 of 19



would dictate that Smith & Nephew also should be permitted to engage in discovery on these same

topics, including, for instance, updating expert reports and additional expert depositions. See In

re Rail Freight Fuel Surcharge Antitrust Litig., 138 F. Supp. 3d 1, 3 (D.D.C. 2015) (declining to

reopen discovery for defendants because it would be unfair to plaintiffs, and would “necessitate

even further additional discovery” by them). There is no basis on which to re-open discovery,

which will only needlessly consume resources and divert attention from preparation for upcoming

trials. Plaintiffs’ Motion should be denied.

                                         BACKGROUND

       The period for general liability discovery in this MDL began in late 2018 and ended in

early 2021. See Second Amended Case Management Order No. 16 [D.E. 2243] § II.1.A (“The

close of general liability fact discovery for all BHR Track cases is July 15, 2020.”); Case

Management Order No. 18 [D.E. 2399] § II.1.A (“The close of general liability fact discovery for

all THA Track cases is February 19, 2021.”); Motion at 1 (arguing that depositions took place

during Smith & Nephew’s document production that “spanned more than two full years”); id. at 2

(conceding that “discovery has closed”). During that time, Plaintiffs took dozens of depositions

of current and former Smith & Nephew employees, including corporate representatives who

testified pursuant to Federal Rule 30(b)(6). Plaintiffs deposed Tim Band twice in this litigation,

first on July 9, 2019 in the BHR Track, and again on January 22, 2020 in the THA Track.

       Plaintiffs’ Motion identifies twelve documents about which Plaintiffs want to depose Tim

Band, Motion at 5-7, arguing that Mr. Band “was deposed before many of the above documents

were actually produced.” Id. at 7. In fact, only one of the documents (or their duplicates) identified

by Plaintiffs was produced after Mr. Band’s depositions. The chart below identifies the dates of

Mr. Band’s depositions and dates the documents (or duplicates) identified in Plaintiffs’ Motion

were produced.
                                                  3
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 4 of 19




                             Documents Identified In Plaintiffs’ Motion                Production Date
                   SN_BHR_MDL_0777009 (Ex. C to Motion)                                     11/01/18

                   SN_BHR_MDL_0777010                                                       11/01/18
                   (duplicate of SN_BHR_MDL_0975377 (Ex. C to Motion))1

                   SN_BHR_MDL_0089762                                                       11/09/18
                   (duplicate of SN_BHR_MDL_3409550 (Ex. B to Motion))

                   SN_BHR_MDL_10090713 (Ex. G to Motion)                                    11/09/18

                   SN_BHR_MDL_0137824 (Ex. B to Motion)                                     12/29/18

    First Band                                                                              02/09/19
    Deposition

                   SN_BHR_MDL_0485243 (Ex. C to Motion)                                     03/01/19

                   SN_BHR_MDL_0485180 (Ex. E to Motion)                                     03/01/19

                   SN_BHR_MDL_0571547 (cited in Motion at 8)                                03/26/19

                   SN_BHR_MDL_1041480 (Ex. D to Motion)                                     06/29/19

                   SN_BHR_MDL_1080580 (Ex. H to Motion)                                     07/31/19

                   SN_BHR_MDL_2187381 (Ex. F to Motion)                                     12/31/19

    Second Band                                                                             01/22/20
     Deposition

                   SN_BHR_MDL_226218                                                        02/01/20
                   (duplicate of SN_BHR_MDL_2933873 (Ex. A to Motion))2

As to the one document produced after Mr. Band’s depositions, Plaintiffs argue that it is relevant

because it pertains to the BHR as a “cash cow.” Motion at 5. But Plaintiffs already deposed Mr.




1
  Exhibits B and C to Plaintiffs’ Motion each include multiple documents. Therefore, the
production date for each document included in these composite exhibits is included in this chart.
2
 Indeed, one of the documents that Plaintiffs identify (SN_BHR_MDL_2187381) (Ex. F to
Motion) was an exhibit at Mr. Band’s second deposition.
                                                4
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 5 of 19



Band extensively on this same topic and regarding documents that use this same phrase. Indeed,

his testimony explaining his use of the term “cash cow” was presented at the Redick trial. Further,

most of the documents identified in Plaintiffs’ Motion were exhibits introduced at various other

witnesses’ depositions, so Plaintiffs already have had ample opportunity to inquire about them.3

       Plaintiffs’ Motion also identifies three topics about which they want to depose a corporate

representative under Rule 30(b)(6): (i) ad hoc data, (ii) medical education, and (iii) Dear Doctor

Letters and other marketing materials. Motion at 1, 2, 8. These are all subjects, however, that

Plaintiffs have already addressed multiple times with multiple witnesses.

       Ad hoc data. With regard to ad hoc data, Smith & Nephew previously produced Blair

Fraser as a corporate representative to testify about the post-market surveillance of the

performance of the BHR, a topic that includes ad hoc data. See Deposition of Blair Fraser (“Fraser

Dep”) (Oct. 24, 2018) (Ex. A). Plaintiffs also deposed Mr. Fraser three additional times as a fact




3
  E.g., SN_BHR_MDL_0137824 (Ex. B to Motion) (addressed at June 19, 2019 deposition of
Tom Troup); SN_BHR_MDL_0777009 (Ex. C to Motion) (addressed at depositions of Naseem
Amin, Gino Rouss, and Dave Telling on Oct. 17, 2019, Jan. 15, 2020, and Jan. 24, 2020);
SN_BHR_MDL_0485243 (Ex. C to Motion) (addressed at Oct. 17, 2019 deposition of Naseem
Amin, and at Nov. 19, 2019 deposition of Dr. Edwin Su); SN_BHR_MDL_2187381 (Ex. F to
Motion) (addressed at depositions of Dave Telling, Tom Pynsent, Tim Band, and Peter Heeckt on
Jan. 15, 2020, Jan. 17, 2020, Jan. 22, 2020, and Dec. 1, 2020); SN_BHR_MDL_1080580 (Ex. H
to Motion) (addressed at Oct. 17, 2019 deposition of Naseem Amin and at Dec. 1, 2020 deposition
of Peter Heeckt). Additional documents identified in Plaintiffs’ Motion were addressed at
depositions of experts and/or case-specific witnesses. For instance, SN_BHR_MDL_0777009
and SN_BHR_MDL_0485243 (Ex. C to Motion) were addressed at the deposition of Ms. Mosca’s
implanting surgeon, Dr. Boucher, on Feb. 7, 2020. SN_BHR_MDL_2933873 (Ex. A to Motion)
was addressed at the deposition of Smith & Nephew’s expert, Dr. Brent Kerger, on Nov. 2, 2020.
SN_BHR_MDL_0090713 (Ex. G to Motion) was addressed at the deposition of Smith &
Nephew’s expert, Dr. Donna-Bea Tillman, on Oct. 28, 2020.
                                                5
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 6 of 19



witness, after his 30(b)(6) deposition. At all four of his depositions, Mr. Fraser testified about ad

hoc data.4

       Plaintiffs also have deposed other witnesses regarding ad hoc registry data and Smith &

Nephew’s use of that data, including:

            Peter Heeckt, a former Smith & Nephew Chief Medical Officer, Heeckt Dep. (Dec. 12,
             2020);

            Dave Telling, Smith & Nephew’s former Director of Quality and Regulatory Affairs,
             who was directly responsible for Smith & Nephew’s post-market surveillance of the
             BHR, Telling Dep. (Jan. 15, 2020); Telling Dep. (Aug. 28, 2020);

            Naseem Amin, Smith & Nephew’s former Chief Science Officer, Amin Dep. (Oct. 17,
             2019);

            Gino Rouss, a former Smith & Nephew employee in the Regulatory Affairs
             department, Rouss Dep. (Jan. 24, 2020);

            Carolyn Shelton, Smith & Nephew’s former Vice President of Regulatory Affairs for
             Advanced Surgical Devices, Shelton Dep. (Feb. 12, 2020); and

            Andrew Weymann, a former Smith & Nephew Chief Medical Officer, Weymann Dep.
             (Jan. 15, 2020).

       Medical education. As set forth above Blair Fraser—Smith & Nephew’s former Vice

President of Medical Education for the Americas between 2008 and 2012—already was deposed

four times in this MDL, during which he was asked about his role in medication education. E.g.,

Fraser Dep. (Oct. 24, 2018) (Ex. A) at 11 (“Q. I know you sort of came up through Medical

Education at the company. Is that fair? A. That was one of my roles. Yes.”); id. at 225 (“Q.

Okay. When is the first time you became involved with anything to do with BHR? A. 2008. Q.

What did you do there related to the BHR? A. I ran the Medical Education Group.”); see also,




4
 E.g., Fraser Dep (Oct. 24, 2018) (Ex. A) at 109-10, 115-16, 121-22; Fraser Dep (Sept. 19, 2019)
(Ex. B) at 85-99, 128-30; Fraser Dep (Nov. 14, 2019) (Ex. C) at 53-55, 59-62, 65-72; Fraser Dep.
(Ex. D) (Jan. 29, 2020) at 66-68, 138-41.
                                                 6
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 7 of 19



e.g., Fraser Dep. (Jan. 29, 2020) (Ex. D) at 42, 47 (Plaintiffs’ counsel asking questions of Mr.

Fraser “as the person from 2008 through 2012 in charge of medical education in the Americas,”

and “as the medical education person that was responsible for the training program”). Plaintiffs

also deposed Joan Overhauser—Smith & Nephew’s former Director of Medical Education—twice

in this MDL. See Overhauser Dep. (June 21, 2019); Overhauser Dep. (Jan. 15, 2021).

       Plaintiffs have also deposed several other witnesses about Smith & Nephew’s medical

education programs, including:

          Tim Bourne, a former BHR Product Manager, Bourne Dep. (Aug. 22, 2019);

          Peter Heeckt, Smith & Nephew’s former Chief Medical Officer, Heeckt Dep. (Dec. 1,
           2020);

          Blair DeWeese, Smith & Nephew’s former Global Marketing Manager for the BHR,
           DeWeese Dep. (Aug. 16, 2019); and

          Mark Waugh, Smith & Nephew’s former Vice President of Global Hip Marketing,
           Waugh Dep. (June 13, 2019).

       Dear Doctor Letters and other marketing materials. Smith & Nephew already has

produced John Clausen as a corporate representative on these exact topics. Clausen Dep. (Nov.

14, 2018). During his deposition, Plaintiffs questioned Mr. Clausen about at least seven different

Dear Doctor letters, as well as a variety of other marketing material. E.g., Clausen Dep. (Nov. 14,

2018), Exs. 14, 18, 26, 27, 29, 31, 45.

       Plaintiffs thereafter deposed at least eight additional current and former Smith & Nephew

employees within the Medical Education, Marketing, and Marketing Communications groups, all

of whom had responsibility for the BHR during their employment with Smith & Nephew, and all

of whom were questioned about dear doctor letters and/or other BHR marketing:

      Andrew Burns, Smith & Nephew’s Vice President of Global Marketing Services, who also
       held other roles with BHR responsibilities, including Director of Direct-to-Consumer
       Marketing and Senior Director of Marketing Communications, Burns Dep. (Nov. 13,
       2019);
                                            7
         Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 8 of 19




        Dave Archer, Smith & Nephew’s former Group Director of Marketing Communications,
         Archer Dep. (Sept. 26, 2019);

        Michael Cooper, Smith & Nephew’s former Senior Global Marketing Manager for Hips,
         Cooper Dep. (Aug. 14, 2019);

        Blair DeWeese, Smith & Nephew’s former Global Marketing Manager, DeWeese Dep.
         (Aug. 16, 2019);

        Steve Miller, Smith & Nephew’s former Director of Sports Marketing, Miller Dep. (Oct.
         22, 2019);

        Tom Troup, Smith & Nephew’s former Group Director of Marketing, who was also a Sales
         Director with BHR responsibilities, Troup Dep. (June 19, 2019);

        Russell Walter, Smith & Nephew’s Senior Director of Primary Hips, who was also
         previously a Marketing Manager for Hips, Walter Dep. (June 12, 2019); and

        Mark Waugh, Smith & Nephew’s former Group Director of Hip Resurfacing, who also
         held positions as Group Director of Global Marketing and Vice President of Hip
         Marketing, Waugh Dep. (June 13, 2019).

                                            ARGUMENT

         Plaintiffs’ request for leave to take de bene esse depositions should be denied. As an initial

matter, Tim Band is located in the U.K. and has not been a Smith & Nephew employee since

January 2021, so Smith & Nephew cannot compel him to attend another deposition. Additionally,

as set forth below, (i) Plaintiffs are not entitled to de bene esse depositions under the Federal Rules

or Fourth Circuit precedent, and (ii) Plaintiffs have not established “good cause” to take

depositions after the discovery period has closed under Federal Rule 16(b)(4).

I.       PLAINTIFFS ARE NOT ENTITLED TO DE BENE ESSE DEPOSITIONS AFTER
         THE CLOSE OF DISCOVERY.

         Neither the Federal Rules nor relevant case law supports Plaintiffs’ request to take de bene

esse depositions after the close of discovery. The Fourth Circuit has explained that “[t]he Federal

Rules of Civil Procedure make no distinction for use of a deposition at trial between one taken for

discovery purposes and one taken for use at trial (de bene esse). Moreover, we are unaware of any
                                                  8
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 9 of 19



authority which makes that distinction.” Tatman, 938 F.2d at 510-11 (citing Fed. R. Civ. P. 32;

collecting cases). Rather, Rule 32 “provides that a deposition may be offered at trial, subject to

the rules of evidence, as though the witness were present and testifying, and no distinction is now

made in the rule with respect to the purpose for which the deposition was taken.” Id. at 511.

Therefore, there is no need for a de bene esse deposition because where, as here, “the witness’

deposition was duly noticed and all parties had the opportunity to attend (and did attend), it may

be introduced at trial, subject to the rules of evidence, if the witness is unavailable as described in

Rule 32(a)(3).” Id.

       Plaintiffs argue, mistakenly, that “[c]ourts routinely allow trial depositions to be taken

‘even after the discovery deadline has passed’ in cases where witnesses have already been deposed

as part of general discovery.” Motion at 3. In fact, the only District of Maryland case cited in

Plaintiffs’ Motion reiterates that the Federal Rules do “not make a distinction between a discovery

deposition and a trial deposition,” and “such depositions should ordinarily be subject to the same

discovery deadline.” Capital Finance, 2019 WL 2119839, at *2. Although the Court recognized

in Capital Finance that “some courts allow such [de bene esse] depositions to take place beyond

the discovery deadline when there are circumstances that would so justify,” id., those

circumstances were not present, and the Court denied plaintiff’s request to take a de bene esse

deposition of a fact witness after the close of discovery, where “there were alternatives available

to Plaintiff that would likely have avoided this predicament” of wanting to preserve the witness’s

testimony for trial. Id.

       Other courts within the Fourth Circuit similarly recognize that there is no distinction

between discovery and trial depositions, and both are governed by applicable discovery schedules.

E.g., Tube City IMS, LLC v. Severstal U.S. Holdings, LLC, No. 5:12-cv-31, 2014 WL 4782957, at

*4 (N.D. W. Va. Sept. 24, 2014) (denying request to take trial deposition, because “[i]n this case,
                                                  9
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 10 of 19



[the witness’s] deposition is sought after discovery is closed and with little time for the defendants

to prepare for a deposition before trial,” and “[t]he Fourth Circuit has not recognized a right to

such deposition”). The decision in In re Horstemeyer, 557 B.R. 427, 432 (D.S.C. 2016), is

instructive. There, the court acknowledged that “[s]ome district courts from within the Fourth

Circuit have allowed de bene esse depositions to be taken after the discovery period has closed,”

but explained that “those cases involved local rules that specifically permit de bene esse

depositions outside of the discovery period.” Id. In that case, and in this District, “no local rule

addresses taking de bene esse depositions outside of the discovery period,” and therefore “Plaintiff

has no absolute right to take a de bene esse deposition of [the witness].” Id.5 The additional case

law that Plaintiffs cite does not support a contrary rule.6



5
 See also George v. Ford Motor Co., No. 03 Civ. 7643, 2007 WL 2398806, at *12 (S.D.N.Y. Aug.
17, 2007) (“[B]oth discovery and de bene esse depositions ‘are governed by the scheduling order’
set by the Court, and may not be conducted after the close of discovery absent good cause to
modify that order.”); Henkel v. XIM Prods., Inc., 133 F.R.D. 556, 557 (D. Minn. 1991) (denying
request to take trial deposition outside of discovery period, because “[n]either the Rules of Civil
Procedure nor the Rules of Evidence make any distinction between discovery depositions and
depositions for use at trial,” and “[t]he court concludes there is no difference”).
6
  For instance, In re Biomet M2A Magnum Hip Implant Prods. Liab. Litig., No. 12-md-2391 (N.D.
Ind. Feb. 27, 2019) [D.E. 3758] (cited in Motion at 3) does not support Plaintiffs. There, the court
provided an “explanation to transferor courts” of the status of that MDL. The court allowed limited
“preservation depositions” only of “generic expert witnesses,” and left it to the transferor courts to
rule on the admissibility of such depositions at trial. Id. at 9. The court did not provide any analysis
of this procedure, indicate if it was contested or agreed upon, and significantly, did not permit
preservation depositions of current or former company witnesses who had already been deposed.
Id. at 7-8 (“The plaintiffs had a full opportunity to seek discovery from Biomet; the scheduling
order contemplated that no further discovery from Biomet would be allowed.”). Lucas v. Pactiv
Corp., No. 5:08-cv-00079, 2009 WL 5197838 (W.D. Va. Dec. 22, 2009) (cited in Motion at 3-4),
was distinguished by the court in Horstemeyer as involving “local rules that specifically permit de
bene esse depositions outside of the discovery period,” 557 B.R. at 432, and the court in Lucas
evidently was unaware of the “clear Fourth Circuit guidance” rejecting any distinction between
discovery and de bene esse depositions. 2009 WL 5197838, at *2; compare with Tatman, 938
F.2d at 510-11. In In re Nat’l Prescription Opiate Litig., No. 21-3041, 2021 WL 3777638 (6th
Cir. Jan. 12, 2021) (cited in Motion at 4), the court declined to stay a scheduled deposition on
defendant’s petition for a writ of mandamus, where plaintiffs sought a preservation deposition of
their own expert, based on a showing that he would be unavailable at trial because of a pending
                                                   10
       Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 11 of 19



       Here, as Plaintiffs concede, “discovery has closed,” and no local rule supports the taking

of de bene esse depositions outside of the discovery period. Motion at 2. Plaintiffs’ request for

de bene esse depositions comes more than a year after the close of BHR Track general liability

fact discovery, more than six months after the close of THA Track general liability fact discovery,

and after the conclusion of the first MDL trial. Pursuant to Fourth Circuit precedent, there is no

distinction between de bene esse depositions and the dozens of discovery depositions that Plaintiffs

have already taken, and Plaintiffs are not permitted to obtain additional testimony under the guise

of untimely de bene esse depositions.

       In any event, there is no need for such a deposition here because Plaintiffs already have

taken Tim Band’s deposition twice in this MDL, and introduced his deposition testimony at trial

in the Redick case.7 Likewise, Plaintiffs do not cite any precedent for the use of a de bene esse

deposition to obtain additional Rule 30(b)(6) testimony.8 And Plaintiffs also have already obtained

extensive testimony from Smith & Nephew witnesses regarding ad hoc registry data, Dear Doctor

letters and other marketing activities, and medical education, the topics about which they seek

additional corporate testimony. Plaintiffs had every opportunity during discovery to obtain

deposition testimony for use at trial. See Capital Finance, 2019 WL 2119839, at *2 (denying

discovery where “there were alternatives available to Plaintiff[s] that would likely have avoided

this predicament”). Plaintiffs have obtained testimony from Tim Band, from myriad witnesses


appointment in the then-incoming Biden administration, and where the deposition was scheduled
“before the time specified in Rule 26,” i.e., within the discovery period. Id. at *2 (emphasis added).
7
 Tim Band has also been deposed five times in related state-court cases, for a total of seven
depositions on BHR-related products.
8
 De bene esse depositions, even when permitted, are typically used to preserve the testimony of a
party’s own witness, not an adversarial party’s witnesses or corporate representative. E.g., Capital
Finance, 2019 WL 2119839, at *2 n.3; Lucas, 2009 WL 5197838, at *3 (“attorneys do not
normally depose their own witnesses for discovery purposes because they already know what these
witnesses will say when they testify”).
                                                 11
       Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 12 of 19



pertaining to the topics on which they seek testimony, and regarding most of the documents

identified in their Motion, all of which they can seek to admit at trial subject to the Rules of

Evidence.9 In short, Plaintiffs have neither a right to, nor a need for, de bene esse depositions.

II.    PLAINTIFFS HAVE NOT ESTABLISHED “GOOD CAUSE” TO TAKE
       ADDITIONAL GENERAL LIABILITY DEPOSITIONS.

       Plaintiffs’ Motion also should be denied because they have not demonstrated “good cause”

to take additional depositions outside of the discovery period. See Motion at 4 (“The court has the

discretion to allow depositions taken after the close of discovery for good cause shown.”) (citing

Fed. R. Civ. P. 16(b)(4)); id. at 7-9 (arguing “good cause” to take requested depositions).

       Rule 16(b)(4) specifies that “[a] schedule may be modified only for good cause and with

the judge’s consent,” id., and therefore, “[t]o reopen discovery, Plaintiff must satisfy the good

cause standard of Rule 16(b)(4).” Edwards v. Edwards, No. 12-3761, 2014 WL 1573504, at *3

(D. Md. Apr. 18, 2014); see also Tube City IMS, LLC, 2014 WL 4782957, at *4 (declining to

modify discovery schedule under Rule 16(b)(4) to allow de bene esse deposition, because “good

cause had not been shown by the plaintiff”).

       Courts apply six factors in analyzing motions to re-open or take untimely discovery:

       1) whether trial is imminent, 2) whether the request is opposed, 3) whether the non-
       moving party would be prejudiced, 4) whether the moving party was diligent in
       obtaining discovery within the guidelines established by the court, 5) the
       foreseeability of the need for additional discovery in light of the time allowed for
       discovery by the district court, and 6) the likelihood that the discovery will lead to
       relevant evidence.

Saray Dokum ve Madeni Aksam Sanayi Turizm A.S. v. MTS Logistics Inc., 335 F.R.D. 50, 52

(S.D.N.Y. 2020) (quoting Jacobs v. N.Y.C. Dep’t of Educ., No. 11-cv-5058, 2015 WL 7568642,


9
  To the extent Plaintiffs’ argument focuses on wanting to introduce exhibits at trial about which
they do not have testimony, most documents identified in their Motion were introduced at one or
more depositions. In any event, during the Redick trial, the Court allowed Plaintiffs to introduce
into evidence and show to the jury certain documents for which there was no sponsoring witness.
                                                 12
       Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 13 of 19



at *3-4 (E.D.N.Y. Nov. 24, 2015)); see also, e.g., Bookhamer v. Sunbeam Prods., Inc., No. C 09-

6027, 2012 WL 5269677, at *7 (N.D. Cal. Oct. 23, 2012) (same).

       “The primary consideration of the court in addressing whether ‘good cause’ has been

shown under Rule 16(b) relates to the movant’s diligence. Lack of diligence and carelessness are

the ‘hallmarks of failure to meet the good cause standard.’ ‘[T]he focus of the inquiry is upon the

moving party’s reasons for seeking modification. If that party was not diligent, the inquiry should

end.’” Edwards, 2014 WL 1573504, at *3 (internal citations omitted); Drasovean v. Eaton Corp.,

No. 11-1288, 2012 WL 5409737, at *1 (D. Md. Nov. 5, 2012) (similar). See also, e.g., Saray, 335

F.R.D. at 52 (“The ‘good cause’ inquiry turns on the diligence of the party seeking to modify the

scheduling order. . . . Thus, a ‘party seeking to reopen discovery must show why the court’s

deadlines could not reasonably have been [met] despite its diligence.’”).

       Here, Plaintiffs have not shown “good cause” to re-open discovery and take untimely

depositions of Tim Band or a Smith & Nephew corporate representative.

       First, trials are not only imminent, but the first MDL trial already has occurred. Though

the second trial—only a few weeks away at the time Plaintiffs filed their Motion—has been

postponed, the parties have more than enough remaining trial preparation and pending motion

practice in both the BHR and THA Tracks to complete in the interim. In all events, Plaintiffs

should not be permitted to reopen discovery after the first trial. Doing so is unnecessary in light

of the discovery that already has occurred, which addressed each of the topics identified by

Plaintiffs in their Motion.   Plaintiffs may not reopen discovery simply because they were

disappointed in the result of the first MDL trial in Redick. Consolidation in this MDL was intended

to “conserve the resources of the parties, their counsel, and the judiciary,” United States Judicial

Panel on Multidistrict Litigation Transfer Order (Apr. 5, 2017) [D.E. 81 in MDL 2775] at 2, not



                                                13
        Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 14 of 19



provide Plaintiffs a means to conduct a never-ending discovery-trial-discovery loop with which to

adjust their strategy.10

        Second, Smith & Nephew opposes Plaintiffs’ request to take untimely depositions, for all

of the reasons set forth herein.

        Third, Smith & Nephew would be unfairly prejudiced by having to defend additional

depositions pertaining to witnesses, topics, and documents that were already the subject of

extensive discovery, rather than preparing for trial based on the expansive discovery record that

was created over multiple years. See Capital Finance, 2019 WL 2119839, at *2 (denying request

for de bene esse depositions after the close of discovery, due in part to the “burden on Defendants”

of additional discovery); Bookhamer, 2012 WL 5269677, at *7-8 (denying motion to reopen

discovery under six-factor test where “[r]e-opening discovery at this point to allow [the requested]

deposition would . . . prejudice Defendant”). Indeed, Rule 30(b)(6) depositions regarding ad hoc

data, “marketing and Dear Doctor letters,” and “medical education programs” (Motion at 2) would

not only be duplicative of discovery already taken, but the process of identifying and preparing

corporate witnesses on these broad topics would be unduly burdensome on Smith & Nephew.11

        Additionally, reopening discovery for Plaintiffs likely would “necessitate even further

additional discovery” by Smith & Nephew with respect to these same topics, including potentially

amending expert reports and conducting additional depositions of experts and new fact witnesses.




10
   Plaintiffs are the parties that first sought the consolidation of the BHR cases into this MDL.
United States Judicial Panel on Multidistrict Litigation Transfer Order [D.E. 81 in MDL 2775] at
1. Having reaped the benefits of their choice to pursue an MDL procedure that necessarily imposed
a unified general discovery process and timeline, Plaintiffs should not now be allowed to ignore
the centralized discovery deadlines when inconvenient to them.
11
  The witnesses most knowledgeable about the topics on which Plaintiffs seek additional corporate
testimony are former Smith & Nephew employees—all of whom Plaintiffs have already
deposed—and who Smith & Nephew cannot compel to appear for additional depositions.
                                                14
           Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 15 of 19



See In re Freight Fuel Surcharge, 138 F. Supp. at 3 (ruling that re-opening discovery in MDL for

defendant would “unfairly prejudice plaintiffs” and would result in “a new round of discovery to

allow plaintiffs” to address additional discovery sought by defendants); cf. In re Mutual Funds

Investment Litig., 608 F. Supp. 2d 670, 671 (D. Md. 2009) (denying motion to amend complaint

that would require court to “reopen discovery,” which would undermine MDL’s goal to

“efficiently manage and resolve issues of broad public importance”).

           Fourth, Plaintiffs were not diligent in seeking the deposition testimony now requested.

Contrary to Plaintiffs’ argument, almost every document (or a duplicate) about which they wish to

depose Tim Band was produced before one or both of his depositions, such that Plaintiffs already

had the opportunity to obtain his testimony regarding these documents. The only exception is

Exhibit A to Plaintiffs’ Motion, which Plaintiffs identify as relevant because it pertains to Smith

& Nephew’s references to the BHR as a “cash cow.” Motion at 5. But Plaintiffs already deposed

Mr. Band extensively on this same topic, using other documents containing this same reference.

Indeed, Mr. Band’s testimony explaining his use of the term “cash cow”—as well as the testimony

of other Smith & Nephew witnesses on this same issue—was actually presented at the Redick trial.

To the extent Plaintiffs felt it was important to depose Mr. Band about this particular document,

the proper time to seek leave to do so was immediately after its production in early 2020, not more

than a year after the close of BHR discovery, and after Plaintiffs introduced this same document

at trial and made Smith & Nephew’s use of the term “cash cow” a central theme in the first MDL

trial.12



12
   Plaintiffs were well aware of their ability to seek successive depositions based on newly-
produced documents, and did exactly that with former Smith & Nephew employee Dave Telling.
There is no excuse for Plaintiffs’ failure to request the same thing for Tim Band until long after
the close of discovery and after the first bellwether trial. In fact, during Mr. Band’s second
deposition, counsel for Smith & Nephew told Plaintiffs’ counsel that “if you feel like you’ve had
                                                 15
       Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 16 of 19



       Fifth, to the extent Plaintiffs needed additional testimony from Tim Band, corporate

representatives, or regarding the documents identified, it was entirely foreseeable both before and

during general discovery in this MDL. Indeed, far from being unforeseeable, the topics on which

Plaintiffs now seek testimony have figured prominently in this litigation since its outset. See, e.g.,

MACC [D.E. 124] ⁋⁋ 32, 34, 68, 429 (allegations about Smith & Nephew Dear Doctor letters); id.

⁋⁋ 39, 54, 55, 96, 149, 152, 255, 280, 282, 429, 480, 491, 492, 501, 505, 508, 511, 512 (allegations

about Smith & Nephew’s marketing); id. ⁋⁋ 32, 39, 82, 86, 199, 201, 208, 209, 210, 211, 212, 213,

239, 240, 247, 275, 371, 463 (allegations about Smith & Nephew’s surgeon training).

       In fact, Plaintiffs both foresaw the need to depose Tim Band, and took his deposition, twice,

for a total of more than 12 hours on the record. Likewise, Plaintiffs questioned a wide variety of

witnesses in depositions taken during the discovery period about the documents identified in their

Motion. Plaintiffs cannot now claim that it was unforeseeable that they may want to ask deposition

witnesses about documents that they not only highlighted in discovery, but then sought to pre-

admit at the first MDL trial. Plaintiffs were similarly well aware of the relevance of each of the

topics about which they now seek testimony from a corporate representative, and deposed myriad

witnesses—including in some instances corporate representatives—about those same topics.

       Sixth, and finally, in light of the extensive discovery that Plaintiffs have already obtained

from Tim Band and other witnesses, including about documents and topics identified in their

Motion, additional depositions would be duplicative, and unlikely to yield any additional relevant

evidence. Additional depositions would merely constitute a second (or even third) bite at the apple




documents produced after you decided to take his deposition . . . and you think you need more
time on the BHR track, that -- that can be addressed.” Band Dep. (Jan. 22, 2020) (Ex. E) at 251.
                                                 16
       Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 17 of 19



on top of the already expansive discovery Plaintiffs obtained in this MDL over more than two

years.13

       Accordingly, none of these six factors supports taking additional depositions, and Plaintiffs

have not established “good cause” either to re-depose Tim Band or to depose one or more

additional Smith & Nephew corporate representatives. See, e.g., Givens v. Prime Office Prods.,

No. 04-731-CCB, 2005 WL 8174325, at *1 (D. Md. Aug. 10, 2005) (Blake, J.) (“reopening

discovery would unfairly allow [plaintiff] another attempt to find support for his claim when he

had ample opportunity previously”); Drasovean, 2012 WL 5409737, at *2 (denying motion to

reopen discovery where plaintiff had not established “good cause,” because “[m]ost critically,

Plaintiff has not demonstrated that she exercised diligence in attempting to meet the original

deadline” and “[a]t this stage of litigation, when discovery has been closed for over nine months,

it would be unfair to force Defendant to participate in additional discovery”); Tube City IMS, LLC,

2014 WL 4782957, at *4 (denying request for de bene esse deposition, because “good cause had

not been shown by the plaintiff” pursuant to Rule 16(b)(4)).

                                        CONCLUSION

       For these reasons, Smith & Nephew respectfully submits that Plaintiffs’ Motion for Leave

to Take De Bene Esse Depositions should be denied.




13
   Additionally, several of the documents highlighted in Plaintiffs’ Motion are irrelevant to the
Mosca case, because they pertain to marketing plans or communications that occurred after her
May 17, 2010 implant surgery. See Ex. B to Motion (pertaining to future marketing plans
discussed on May 21, 2010); Ex. D to Motion (addressing communications outside the United
States in June 2010); Ex. F to Motion (marketing presentation in February 2012); Ex. G (letter to
doctors in August 2013); Ex. H (internal email and market analysis in November 2012).
                                                17
      Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 18 of 19



Dated: September 27, 2021                        Respectfully Submitted,

                                        /s/ Paul J. Zidlicky
   Kim E. Moore                        Jana D. Wozniak
   Timothy F. Daniels                  Daniel F. Spira
   IRWIN FRITCHIE URQUHART & MOORE LLC SIDLEY AUSTIN LLP
   400 Poydras St. #2700               One South Dearborn
   New Orleans, Louisiana 70130        Chicago, Illinois 60603
   kmoore@irwinllc.com                 jwozniak@sidley.com
   tdaniels@irwinllc.com               dspira@sidley.com
   Tel.: (504) 310-2100                Tel.: (312) 853-7000
   Fax: (504) 310-2101                 Fax: (312) 853-7036

   Terri S. Reiskin (Bar No. 05256)            Paul J. Zidlicky (Bar No. 26148)
   NELSON MULLINS RILEY &                      SIDLEY AUSTIN LLP
   SCARBOROUGH LLP                             1501 K Street, N.W.
   101 Constitution Ave. NW, Ste 900           Washington, DC 20005
   Washington, DC 20001                        pzidlicky@sidley.com
   terri.reiskin@nelsonmullins.com             Tel.: (202) 736-8000
   Tel.: (202) 689-2800                        Fax: (202) 736-8711
   Fax: (202) 689-2860
                         Counsel for Defendant Smith & Nephew, Inc.




                                            18
       Case 1:19-cv-00589-CCB Document 310 Filed 09/27/21 Page 19 of 19



                                CERTIFICATE OF SERVICE

       I, Paul J. Zidlicky, hereby certify that on this 27th day of September, 2021, I electronically

filed the foregoing with the Court using the CM/ECF system, and thereby delivered the foregoing

by electronic means to all counsel of record.



                                                /s/ Paul J. Zidlicky
                                                Counsel for Defendant Smith & Nephew, Inc.




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